            Case 1:16-md-02753-LM         Document 1         Filed 12/08/16      Page 1 of 3




                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION


IN RE: ATRIUM MEDICAL CORP. C-QUR
MESH PRODUCTS LIABILITY LITIGATION                                                      MDL No. 2753


                                        TRANSFER ORDER


         Before the Panel: Plaintiffs in the actions listed on Schedule A and pending in the District
of New Hampshire move under 28 U.S.C. § 1407 to centralize pretrial proceedings in this litigation
in the District of New Hampshire. This litigation consists of thirteen actions pending in seven
districts, as listed on Schedule A. The Panel also has been notified of eight related actions pending
in eight districts.1 All responding parties support centralization in the District of New Hampshire,
including plaintiffs in six actions and potential tag-along actions and defendants.2

        On the basis of the papers filed and hearing session held, we find that these actions involve
common questions of fact, and that centralization in the District of New Hampshire will serve the
convenience of the parties and witnesses and promote the just and efficient conduct of this litigation.
All the actions share common factual questions arising out of allegations that defects in defendants’
C-Qur mesh products incite an allergic or inflammatory response that causes severe complications.
All the actions involve factual questions relating to whether C-Qur mesh was defectively designed
or manufactured, whether defendants knew or should have known of the alleged propensity of C-Qur
mesh to result in an allergic or inflammatory response, and whether defendants provided adequate
instructions and warnings with the mesh. These common factual issues are sufficiently complex to
merit centralized treatment. Centralization will eliminate duplicative discovery; prevent inconsistent
pretrial rulings; and conserve the resources of the parties, their counsel, and the judiciary.

         We select the District of New Hampshire as the appropriate transferee district for this
litigation. Seven of the actions on the motion, as well as a number of state court cases, are pending
in this district, and Atrium is headquartered there. Given the unanimous support for this district by
the parties, we conclude that the District of New Hampshire presents a convenient and accessible
transferee forum. By selecting the Honorable Landya B. McCafferty to preside over this litigation,
we are selecting a jurist with the willingness and ability to handle this litigation, but who has not yet
had the opportunity to preside over an MDL.



        1
         These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1, and 7.2.
        2
         Atrium Medical Corp. (Atrium), Maquet Cardiovascular, LLC, Getinge USA, Inc., and
Getinge AB.
        Case 1:16-md-02753-LM        Document 1      Filed 12/08/16    Page 2 of 3




                                            -2-

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the District of New Hampshire are transferred to the District of New Hampshire and, with the
consent of that court, assigned to the Honorable Landya B. McCafferty for coordinated or
consolidated pretrial proceedings.


                                   PANEL ON MULTIDISTRICT LITIGATION




                                   __________________________________________
                                                  Sarah S. Vance
                                                      Chair

                                   Marjorie O. Rendell         Charles R. Breyer
                                   Lewis A. Kaplan             Ellen Segal Huvelle
                                   R. David Proctor            Catherine D. Perry
     Case 1:16-md-02753-LM        Document 1   Filed 12/08/16   Page 3 of 3




IN RE: ATRIUM MEDICAL CORP. C-QUR
MESH PRODUCTS LIABILITY LITIGATION                                   MDL No. 2753


                                  SCHEDULE A


         Northern District of Florida

    DORIS v. ATRIUM MEDICAL CORPORATION, C.A. No. 4:16-00295

         Middle District of Georgia

    BRYANT, ET AL. v. ATRIUM MEDICAL CORPORATION, ET AL.,
        C.A. No. 3:16-00123

         District of Kansas

    FERGERSON v. ATRIUM MEDICAL CORPORATION, C.A. No. 2:16-02058

         Eastern District of Louisiana

    GUZMAN v. ATRIUM MEDICAL CORPORATION, C.A. No. 2:16-2179

         Eastern District of Missouri

    HEINZ v. ATRIUM MEDICAL CORPORATION, ET AL., C.A. No. 4:16-01587

         District of New Hampshire

    YOUNG v. ATRIUM MEDICAL CORPORATION, C.A. No. 1:16-0195
    HICKS v. ATRIUM MEDICAL CORPORATION, ET AL., C.A. No. 1:16-00357
    ACKLEY v. ATRIUM MEDICAL CORPORATION, ET AL., C.A. No. 1:16-0358
    BADRY v. ATRIUM MEDICAL CORPORATION, ET AL., C.A. No. 1:16-00360
    CROUCHER v. ATRIUM MEDICAL CORPORATION, ET AL., C.A. No. 1:16-0371
    LUNA v. ATRIUM MEDICAL CORPORATION, ET AL., C.A. No. 1:16-00372
    BLACKWOOD v. ATRIUM MEDICAL CORPORATION, ET AL.,
         C.A. No. 1:16-00379

         Western District of Texas

    ZISSA v. ATRIUM MEDICAL CORPORATION, C.A. No. 5:15-00718
